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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

   ANDY KIM, in his personal capacity
   as a candidate for U.S. Senate, ANDY
   KIM FOR NEW JERSEY, SARAH
   SCHOENGOOD, SARAH FOR NEW
   JERSEY, CAROLYN RUSH and
   CAROLYN RUSH FOR CONGRESS
   Plaintiffs,
   vs.
   CHRISTINE GIORDANO HANLON, Civil Action No.: 3:24-cv-1098
   in her official capacity as Monmouth (ZNQ)(TJB)
   County Clerk, et. al.,

                Defendants.

   - and -

   DALE A. CROSS, in his official
   capacity as Salem County Clerk, et al.,

                 as Interested Parties.


  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION IN
  LIMINE NO. 2 TO EXCLUDE THE INTRODUCTION OR USE OF THE
  EXPERT REPORT OF DR. JULIA SASS RUBIN


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        Defendants Christopher Durkin, Joanne Rajoppi, and Danielle Ireland-

  Imhoff, in their official capacities, respectfully submit this memorandum of law in

  support of their motion, pursuant to Fed. R. Evid. 702 and Daubert v. Merrell Dow

  Pharms., Inc., 509 U.S. 579 (1993, to exclude the testimony of Dr. Julia Sass Rubin

  (“Rubin”), the proffered expert witness of Plaintiffs.

                                      ARGUMENT

        The admissibility of expert testimony is governed by Fed. R. Evid. 702, which

  provides that an expert who is “qualified . . . by knowledge, skill, experience,

  training, or education may testify” if the testimony would be helpful to the trier of

  fact, is “based on sufficient facts or data,” and is “the product of reliable principles

  and methods,” reliably applied to the facts of the case. Fed. R. Evid. 702. And these

  factors, in turn, largely have their origins in Daubert, in which the Supreme Court

  held that the district court bears a critical gatekeeping function in assessing the

  admissibility of expert testimony. Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

  579, 589–95 (1993).

        Although Fed. R. Evid. 702 sets forth specific criteria for the district court’s

  consideration in evaluating a Daubert motion, the Supreme Court has identified a

  number of factors bearing on reliability that district courts may consider, such as (1)

  whether a theory or technique “can be (and has been) tested,” Daubert, 509 U.S. at

  593; (2) “whether the theory or technique has been subjected to peer review and

  publication,” id.; (3) a technique’s “known or potential rate of error,” and “the

  existence and maintenance of standards controlling the technique’s operation,” id. at
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  594; and (4) whether a particular technique or theory has gained “general

  acceptance” in the relevant scientific community. Id. Although these factors do not

  constitute, a “definitive checklist or test.” Daubert, 509 U.S. at 593, and “the

  gatekeeping inquiry must be tied to the facts of a particular case,” Kumho Tire Co.

  v. Carmichael, 526 U.S. 137, 150 (1999) (internal quotation marks omitted), the

  Supreme Court has held that:

              nothing in either Daubert or the Federal Rules of Evidence
              requires a district court to admit opinion evidence that is
              connected to existing data only by the ipse dixit of the
              expert. A court may conclude that there is simply too great
              an analytical gap between the data and the opinion
              proffered.

  General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

        Daubert and Rule 702 “mandate the exclusion” of expert opinion testimony

  based on data or a methodology that are “simply inadequate to support the

  conclusions reached[.]” Amorgianos v. Nat'l R.R. Passenger Corp., 303 F.3d 256,

  266 (2d Cir. 2002). Indeed, “any step that renders the analysis unreliable under the

  Daubert factors renders the expert’s testimony inadmissible.” Id. at 267 (quoting In

  re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 745 (3d Cir. 1994) (emphasis in

  original)). Federal courts have extended the Daubert approach to social science

  testimony. See, e.g., Tyus v. Urban Search Mgt., 102 F.3d 256, 263 (7th Cir.1997);

  United States v. Hall, 93 F.3d 1337 (7th Cir.1996).

        Here, as set forth below, Rubin’s methodology is not based on sufficient
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  relevant facts and data and does not use reliable and reproduceable methods, her

  reports fail to account for critical variables that undoubtably taint her findings, and

  her conclusions fail to cite to a single peer reviewed article or reputable academic

  study. It is unreliable at every step. Accordingly, her opinion is neither relevant nor

  reliable, as required by Rule 702 and Daubert and should, therefore, be excluded

  from this case.

       I.   Sass Rubin’s Testimony and Report Should be Stricken Due to
            Methodological Flaws and Insufficient Analysis.

        Sass Rubins’ Report encounters glaring methodological limitations,

  particularly regarding the potential misinterpretation of causal relationships and an

  overreliance on descriptive statistics (mean, median). To try and understand Sass

  Rubin’s methodology, we must start with her conclusion: “New Jersey’s unique

  county line primary ballots provide a substantial electoral benefit to candidates who

  appear on the county line.” See Export Report of Dr. Julia Sass Rubin at 22 (the

  “Report”), attached to Plaintiffs’ Complaint as Exhibit B (Dkt. # 1-3). To prove this

  premise, the Report must provide a reliable methodology that the “county line

  primary ballot” is the main, if not sole, reason for why certain candidates perform

  better in counties where they are on the “county line” and worse when they are not.

  Notwithstanding the fact that Sass Rubin provides multiple examples where this is

  not the case, she does not provide a complete analysis that separates ballot

  positioning as an independent variable, and therefore cannot isolate its alleged effect

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  on voter behavior.

        For example, the Report indicates that candidates on the county line saw a

  mean performance margin of 38 percentage points better than when their opponents

  were on the county line. This observation does not account for potential endogeneity,

  where disregarded factors (such as a candidate’s popularity, campaign resources, or

  experience) influence both the likelihood of receiving the certain ballot positioning

  and the actual election outcomes. Indeed, Sass Rubin did not use specific statistical

  methods designed to test for causation, such as instrumental variables or difference-

  in-differences. These techniques are crucial for determining whether the ballot

  placement directly causes better electoral outcomes, or if both are influenced by

  underlying factors not accounted for in the analysis.

        Similarly, Sass Rubin attempts to isolate ballot placement from two separate

  variables: incumbency and county party endorsements. By doing this, Sass Rubin

  inadvertently proves the opposing viewpoint, as for example, the reduction in the

  mean difference in performance from 38 to only 12 percentage points when

  considering endorsements (which go hand-in-hand with ballot positioning) clearly

  indicate that the so-called county line’s impact is mediated by these political

  variables, and is nearly as big of an alleged factor when isolated.




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        Sass Rubin even admits this prior to submitting her report: 1




        Without a detailed analysis, the methodology opens the door to several

  alternative interpretations of the observed data. Indeed, it is possible that voters are

  more sophisticated and aware than the Report suggests. Voters are likely not blindly

  influenced by the county line; instead, they may use ballot positioning as a heuristic

  or shortcut. Voters recognize endorsed candidates as those vetted by the party and

  thus use their position on the ballot as a signal of credibility or alignment with their

  preferences, especially in primary elections where differences between candidates

  are often subtle. Either way, exclusion of the Report would encourage a more

  thorough and nuanced exploration of how ballot positioning influences electoral

  outcomes, ultimately leading to a clearer understanding of the “county line’s” true

  impact.




  1
    Sass Rubin’s publicly available social media statements referenced herein are
  electronically linked herein and available at https://twitter.com/JuliaSassRubin
  accessed March 14, 2024).
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      II.   Much of Sass Rubin’s Report is Unsupported and Contains
            Contradictory Conclusions.

        The inherent methodological weaknesses and speculative nature of Sass

  Rubin's report, underscored by a lack of empirical support and reliance on personal

  interpretations, fundamentally compromise its reliability and admissibility as expert

  testimony under the rigorous standards set by Daubert and Rule 702. An expert’s

  opinion cannot be based on “subjective belief or unsupported speculation”; rather

  experts must have “good grounds” for his or her belief. Daubert, 509 U.S. at 113.

  The Report cites to no scholarly reviewed articles. In fact, the only law review article

  that Sass Rubin cites to is her own. See Report at 6 (citing to her own article in Seton

  Hall Journal of Legislation and Public Policy). Citing one’s own work without

  reference to a broader body of peer-reviewed literature does not adequately

  demonstrate the reliability of the methodology or conclusions reached. The

  significant reliance on speculative connections between observed data (such as voter

  behavior in relation to the county line) and the conclusions drawn exemplifies an

  “analytical gap” as cautioned against in General Electric Co. The Report’s failure

  to empirically ground its claims or to elaborate on methodological framework to

  bridge the data with the opinions offered undermines the reliability of Rubin’s

  testimony.

        For example, in explaining the undervote in the 2020 Senate Democratic

  Primary in Atlantic County, Sass-Rubin attributes it to the idea that “[voters] may

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   have believed that they had fully completed the ballot by voting for everyone on the

   county line; been reluctant to vote for candidates not on the county line; or not even

   realized that they could vote for candidates running both on and off the county line.”

   Report at 10 (emphasis added). This speculation implies a level of confusion or

   misunderstanding among voters regarding the ballot structure and the status of

   candidates relative to the county line. Yet, the Report does not cite to any source in

   support of this speculation, which is peculiar, considering the language above is not

   definitive.

         Then, earlier in the Report, Sass Rubin concludes that “[w]hile voters may not

   know the names of candidates running for county commissioner or county clerk,

   they generally know the leading candidates for President, Governor, or U.S. Senator.

   These better-known candidates lend familiarity and legitimacy to the other

   candidates on the county line.” Report at 6. This assertion implies a baseline of voter

   knowledge and intentionality in their voting behavior, especially for high-profile

   races. If voters are generally knowledgeable about leading candidates for major

   offices, as suggested by the assertion regarding the familiarity and legitimacy lent

   by these candidates, it would follow that voters should be aware of their options for

   the U.S. Senate race and, by extension, less prone to the confusion or oversights

   implied in the speculation about undervotes.




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            The Report’s reliance on Sass Rubin’s subjective interpretation of the data,

   without underpinning these interpretations with empirical evidence or clear

   methodology, contradicts the requirement that expert opinions must not be based on

   subjective belief or unsupported speculation.

                                      CONCLUSION
            For the foregoing reasons, Defendants Christopher Durkin, Joanne Rajoppi,

   and Danielle Ireland-Imhoff respectfully request that the Court grant their motion in

   limine and exclude Dr. Julia Sass Rubin’s reports and testimony in this matter.

                                                   Respectfully submitted,

                                                   GENOVA BURNS LLC
                                                   Attorneys for Defendants,
                                                   Christopher Durkin, Joanne Rajoppi,
                                                   and Danielle Ireland-Imhof

                                                  By: s/ Angelo J. Genova
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   Dated: March 18, 2024




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